                            UNITED STATES DISTRICT COURT
                            MIDDLE DISTRICT OF TENNESSEE
                                 NASHVILLE DIVISION

UNITED STATES OF AMERICA                         )
                                                 )
v.                                               )      NO. 3:12-00076
                                                 )      JUDGE CAMPBELL
ALLEN WALKER, et al.                             )

                                          ORDER

       Pending before the Court is Defendant Allen Roy Walker’s Motion to Join Co-Accused

Jason Powell’s Motions (Docket No. 249). Through the Motion, Defendant Walker seeks to join

Defendant Powell’s Motions at Docket Nos. 239, 240, 241, 242, and 243. The Motion is

GRANTED.

       It is so ORDERED.

                                                 ____________________________________
                                                 TODD J. CAMPBELL
                                                 UNITED STATES DISTRICT JUDGE




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